
18 So.3d 123 (2009)
The ESTATE OF Luke V. PETROVICH, Nebe Zibilich Petrovich, Anthony V. Petrovich, and Ann Bailey Petrovich
v.
JULES MELANCON, INC. and Jules Melancon.
No. 2009-C-1093.
Supreme Court of Louisiana.
October 2, 2009.
Writ granted: Pursuant to La. URCA Rule 2-17.1, "notice of judgment of a Court of Appeal shall be delivered personally or mailed by the clerk to all counsel of record, and to all parties not represented by counsel." Notice of the judgment was never mailed to Plaintiff or Plaintiffs count. " record as required by the rule. Therefore, the delays for applying for a rehearing contained in La.C.C.P. art. 2166 never began to run. The Clerk of Court exceeded his authority by declining U accept the application, as he did not have the authority to consider or deny the application. The Plaintiffs application for rehearing is therefore timely, and this matter is remanded to the Court of Appeal for consideration of the application.
GUIDRY, J., recused.
